     Case 2:23-cv-11170-FKB-CI ECF No. 1, PageID.1 Filed 05/17/23 Page 1 of 18




                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN


CHRISTOPHER HARRIS,

        Plaintiffs,                                           CASE NO. :
v.                                                            HON.

CITY OF DETROIT, a municipality
POLICE OFFICER JEJUAN JETTER,
POLICE OFFICER MICHAEL DUBAC,
And POLICE OFFICER MICHELS,
in their individual and official capacities,
Jointly and Severally,
_________________________________________________________________/
KHAMO LAW
BRANDON MCNEAL (P81300)
Attorneys for Plaintiff
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Troy, MI 48085
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____________________________________________________________/
                        COMPLAINT and JURY DEMAND
                     There is another pending case between other
parties arising from the transaction or occurrence alleged in the complaint, which is
             before the Honorable Shalina D. Kumar, Case No. 21-12342

                                       /s/ Brandon McNeal
                                    Brandon McNeal (P81300)

      NOW COME the Plaintiff, by and through his attorneys, and for his

Complaint against the Defendants states as follows:

                                          PARTIES

1.      At all pertinent times, Plaintiff was a resident of Wayne County, and citizen

        of the State of Michigan.
     Case 2:23-cv-11170-FKB-CI ECF No. 1, PageID.2 Filed 05/17/23 Page 2 of 18




2.      Police Officer Jejuan Jetter, Police Officer Michael Dubac, Police Officer

Michels (hereafter Individual Defendants), were citizens of the State of Michigan,

and at all pertinent times worked and were employed by the City of Detroit in Wayne

County.

3. Defendant City of Detroit is a municipal corporation located in Wayne

County, Michigan and operates subject to the laws and constitutions of both the State

of Michigan and the United States of America.

                              JURISDICTION AND VENUE

4.      Individual Defendants were at all pertinent times employed by the City of

Detroit and were at all pertinent times, acting pursuant under color of state law and

pursuant to customs, policies, and practices of Defendant City of Detroit.

5.      Plaintiff brings this action under the laws of the State of Michigan, the

United States Constitution, and 42 U.S.C. §1983.

6.      Venue is appropriate because the events giving rise to this action occurred

entirely in Wayne County, Michigan.

7.      The amount in controversy in this action exceeds Seventy-Five

Thousand Dollars ($75,000) and is otherwise within this Court’s subject matter

jurisdiction.

                            FACTUAL ALLEGATIONS
     Case 2:23-cv-11170-FKB-CI ECF No. 1, PageID.3 Filed 05/17/23 Page 3 of 18




8.      On or about August 9, 2021, Plaintiff was walking on the sidewalk in the area

        of Milwaukee and E. Grand Blvd in Detroit, Michigan.

9.      At that time, a vehicle (Blue Dodge Charger) appeared to lose control and

        unintentionally struck the driver’s side of a parked undercover unmarked

        police car (Gray Dodge Charger) occupied by undercover plainclothes

        Defendants Jejuan Jetter and Eugene Fielder.

 10. Immediately after the accident, several males exited the vehicle and ran

 around the car and to the north into a crowd of people, including Plaintiff.

 11. At no time did Plaintiff witness the males with a weapon.

 12. At no time did Plaintiff hear either Defendant Jetter or Fielder identify

 themselves as a police officer.

 13. Defendant Jetter exited the undercover unmarked police vehicle, without

 announcing he was a police officer, shot at one of the males (later identified as

 Michael Adams) several times as he ran in the opposite direction, still unarmed.

 14. Multiple shots missed Plaintiff’s body and head by mere inches.

 15. Plaintiff witnessed one of the male’s body on the ground, bleeding

 profusely.

 16. The Plaintiff realized that Defendant Jetter shot at the male and that the

 bullet missed striking the Plaintiff.
 Case 2:23-cv-11170-FKB-CI ECF No. 1, PageID.4 Filed 05/17/23 Page 4 of 18




17. Shortly thereafter, Defendant Dubac and Defendant Michel approached

Plaintiff who had his hands up in the air.

18. Defendant Dubac and Defendant Michels immediately arrested Plaintiff by

placing him in handcuffs behind his back.

19. Defendant Dubac and Defendant Michels then placed Plaintiff in the

backseat of the patrol vehicle.

20. At no time did Police Officer Fielder ever prevent or intervene the actions of

Defendant Jetter to stop him from his unlawful actions in using deadly force

against Michael Adams and unreasonable and excessive force by shooting at

Michael Adams while Plaintiff, and others in the crowd of people, were in the

line of fire.

21. At all relevant times, Individual Defendant Officers were under the direction

and control of Defendant City of Detroit, when exhibiting excessive and

unreasonable force against Plaintiff and the group of innocent bystanders who

one of the males was running towards without a weapon.

22. At all relevant times, Individual Defendant Officers were under the direction

and control of Defendant City of Detroit, when arresting and detaining Plaintiff

without probable cause or reasonable suspicion.
  Case 2:23-cv-11170-FKB-CI ECF No. 1, PageID.5 Filed 05/17/23 Page 5 of 18




23.   Except for the improper conduct by Defendant Jetter, no justification existed

to use of any force, let alone potentially deadly force against the Plaintiff and the

group of innocent bystanders.

 24. Except for the improper conduct by Defendant Dubac and Defendant Michels,

 no justification existed to arrest or detain Plaintiff without probable cause or

 reasonable suspicion.

25.   The conduct of the City of Detroit:

      a.     Established or condoned customs, policies and/or practices pursuant
             to which Individual Defendant and unknown Defendant officers under
             the direction and control of Defendant City of Detroit, violated
             Plaintiff’s well-established Constitutional rights;

      b.     Failed to properly train, discipline and/or supervise Individual
             Defendants under the direction and control of Defendant City of Detroit
             and others such that they violated Plaintiff’s well-established
             Constitutional rights;

      c.     Denied Plaintiff fair treatment during the investigation;

      d.     Denied Plaintiff’s fair and equal treatment; and,

      e.     Ratified, condoned, and/or permitted the conduct of Individual
             Defendant and unknown Defendant officers under the direction and
             control of Defendant City of Detroit;

26.   The conduct of the Individual Defendants under the direction and control of

      Defendant City of Detroit:

      a.     Exerted unnecessary and excessive force against Plaintiff;

      b.     Wrongfully arrested Plaintiff without probable cause
      Case 2:23-cv-11170-FKB-CI ECF No. 1, PageID.6 Filed 05/17/23 Page 6 of 18




         c.    Wrongfully detained Plaintiff without reasonable suspicion;

         d.      Wrongfully shot at Michael Adams while Plaintiff was in the line of
         fire in violation of his 4th Amendment rights;

         e.    Were grossly negligent, and made Plaintiff’s condition worse after
         shooting him;

27.      As a direct and proximate result of Defendants’ conduct, Plaintiff suffered

injuries and damages including, but not limited to:

         a.    Fear;

         b.    Anxiety;

         c.    Severe emotional distress;

         d.    The very real fear of being shot;

         e.    The fear of dying;

         f.    Mental anguish;

         g.    Loss of the enjoyment of life and life’s pleasures;

         h.    Any and all damages allowable under Michigan or Federal Law.

                             COUNT I
    42 U.S.C. 1983 AGAINST INDIVIDUAL DEFENDANT JETTER;
   STATE CREATED DANGER IN VIOLATION OF PLAINTIFF’S
CONSTITUTIONAL RIGHTS UNDER THE 14TH AMENDMENT OF THE
UNITED STATES CONSTITUTION TO SUBSTANSTIVE DUE PROCESS

28.      Plaintiff hereby re-alleges and incorporates herein by reference all the prior

paragraphs, as though the same were fully set forth herein word for word.
      Case 2:23-cv-11170-FKB-CI ECF No. 1, PageID.7 Filed 05/17/23 Page 7 of 18




29.      Under the ‘State Created Danger’ theory, Plaintiff had a constitutional right

under the substantive due process clause of the 14th Amendment of the United

States Constitution to be free from Defendant Jetter, by affirmative acts, creating

or increasing the risk of danger that Adams presented to Plaintiff.

30.      Adams presented no danger to Plaintiff while he was running away from

Defendant Jetter.

31.      It was Defendant Jetter who increased the risk of harm and danger to

Plaintiff by Jetter unreasonably shooting at Adams, which, miraculously did not

strike and then harm or kill Plaintiff.

32.      The harm caused to Plaintiff by Defendant Jetter was foreseeable and fairly

direct; specifically, Defendant Jetter knew there was someone in the line of fire

when he shot at Michael Adams; Plaintiff.

33.      Defendant Jetter failed to protect Plaintiff from danger.

34.      Defendant Jetter placed Plaintiff specifically at risk of being shot – as

opposed to the public at large.

35.      Defendant Jetter knew or should have known that unreasonably shooting at

Adams endangered/would endanger Plaintiff.

36.      Defendant Jetter acted with deliberate indifference to the risk of danger

posed to Plaintiff by recklessly and unreasonably shooting at Adams.
      Case 2:23-cv-11170-FKB-CI ECF No. 1, PageID.8 Filed 05/17/23 Page 8 of 18




37.      Defendant Jetter used his authority and via the affirmative act of

unreasonably shooting at the unarmed Adams created the danger and increased the

risk of danger to the Plaintiff and made the Plaintiff more vulnerable to injury.

38.      The Individual Defendant officers’ actions under the direction and control of

Defendant City of Detroit were done in their individual capacities, and under color

of state law.

39.      As the direct and proximate result of Defendant Jetter using his authority to

create and enhance the risk of danger to the Plaintiff and to make the Plaintiff more

vulnerable to injury, Plaintiff sustained serious and permanent injuries as detailed

in Paragraph 27, above.

40.      Plaintiff therefore seeks money damages for all of the injuries and losses

sustained from this unreasonable use of excessive force and creation of danger to

the Plaintiff.

41.      Further, Defendant Jetter acted with reckless indifference towards the

federally-protected rights of Plaintiff by enhancing the risk of danger to him and

making him more vulnerable to injury.

42.      According, Plaintiff demands punitive damages.

         WHEREFORE, Plaintiff demands judgment against this Defendant in an

amount to be determined by a jury after a trial by jury, compensatory damages,
      Case 2:23-cv-11170-FKB-CI ECF No. 1, PageID.9 Filed 05/17/23 Page 9 of 18




punitive damages, interest, costs, attorney fees and any/all other relief this Court

may deem appropriate, whether legal or equitable.

                                COUNT II
        42 U.S.C. 1983 AGAINST INDIVIDUAL DEFENDANT JETTER;
      EXCESSIVE FORCE IN VIOLATION OF THE 4TH AMENDMENT TO
                    THE UNITED STATES CONSTITUTION

43.      Plaintiff hereby re-alleges and incorporates herein by reference all the prior

paragraphs, as though the same were fully set forth herein word for word.

44.      Defendant Jetter used unreasonable, excessive, deadly force by shooting at

Adams while Plaintiff was in the line of fire.

45.      This shooting at Adams while Plaintiff was in the line of fire constituted a

seizure of the Plaintiff.

46.      This use of deadly force was objectively unreasonable for, inter alia, the

following reasons:

         a.    Adams was unarmed and made no movement which would lead Jetter

         to reasonably believe that Adams possessed a weapon;

         b.    Adams posed no immediate threat of harm, death, or serious bodily

         injury to Defendant Jetter or his partner, Fieder.

         c.    Adams did not verbally threaten Defendant Jetter or his partnet with

         any violence;

         d.    Clear, reasonable, less intrusive alternatives to the use of deadly force

         were available; and
 Case 2:23-cv-11170-FKB-CI ECF No. 1, PageID.10 Filed 05/17/23 Page 10 of 18




      e.     The force used was excessive in relation to the danger Adams posed if

      left unattended.

47.   Defendant Jetter used unlawful, unreasonable, excessive, deadly force in

shooting at Adams with a crowd of innocent people in the line of fire.

48.   Defendant Jetter’s use of deadly force was objectively unreasonable.

49.   As a direct and proximate result of Defendant Jetter’s unlawful use of

excessive force, the Plaintiff has sustained the losses and harms specified earlier in

this Complaint.

50.   Accordingly, Defendant Jetter is liable to Defendant to Plaintiff for his

unlawful use of deadly force.

51.   Additionally, Defendant Jetter acted with reckless indifference to Plaintiff’s

federally-protected constitutional right to be free from an unlawful seizure of his

person by using excessive force.

52.   Plaintiff therefore demands punitive damages against this Plaintiff.

53.   Defendant Jetter is not entitled to qualified immunity because shooting at

Adams was objectively unreasonable.

54.   No reasonable police officer in Defendant Jetter’s shoes would have

believed that they were not violating Adams and Plaintiff Harris’ right to be free

from unlawful seizure by shooting and possibly killing them.
 Case 2:23-cv-11170-FKB-CI ECF No. 1, PageID.11 Filed 05/17/23 Page 11 of 18




      WHEREFORE, Plaintiff demands judgment against this Defendant in an

amount to be determined by a jury after a trial by jury, compensatory damages,

punitive damages, interest, costs, attorney fees and any/all other relief this Court

may deem appropriate, whether legal or equitable.

                           COUNT III
  42 U.S.C. 1983 AGAINST INDIVIDUAL DEFENDANT DUBAC AND
DEFENDANT MICHELS; UNLAWFUL ARREST, IMPRISONMENT, AND
 DETAINMENT IN VIOLATION OF THE 4TH AMENDMENT TO THE
                  UNITED STATES CONSTITUTION

55.   Plaintiff hereby re-alleges and incorporates herein by reference all the prior

paragraphs, as though the same were fully set forth herein word for word.

56.   Defendant Dubac and Defendant Michels unlawfully detained, arrested, and

imprisoned Plaintiff by handcuffing Plaintiff and placing him in the backseat of a

patrol car without reasonable suspicion or probable cause and for merely being a

witness.

57.   As a direct and proximate result of Defendant Dubac and Defendant

Michels’ actions, Plaintiff suffered injury and damages including, but not limited

to those set forth in paragraph 27.

                             COUNT IV
              MUNICIPAL LIABILITY AGAINST DEFENDANT
                 CITY OF DETROIT UNDER 42 USC 1983

58.   Plaintiff hereby re-allege and incorporate herein by reference all the prior

paragraphs, as though the same were fully set forth herein word for word.
 Case 2:23-cv-11170-FKB-CI ECF No. 1, PageID.12 Filed 05/17/23 Page 12 of 18




59.   At all times herein, Defendant City of Detroit with deliberate indifference to

the constitutional rights of the Plaintiffs and other similarly situated individuals,

established, promulgated, implemented, and maintained the following customs,

policies, or practices that were a proximate cause and a moving force in violations

of the Plaintiffs’ rights under the United States Constitution:

      a.    Failing to adequately train, supervise, and/or discipline law
      enforcement officers and supervisors with regard to the appropriate and
      necessary bases for lawful investigations, use of force, handcuffing,
      detainment, imprisonment, and arrests;

      b.     Hiring and/or retaining as law enforcement officers, supervisors, and
      certain persons whom the Defendant City of Detroit knew or had actual
      notice of using excessive force, arresting without probable cause and
      detaining individuals without reasonable suspicion;

      c.    Failing to intervene when it knew of improper excessive force,
      wrongful arrest without probable cause, wrongful imprisonment and wrongful
      detainment of individuals without reasonable suspicion;

      d.     Condoning and actively encouraging the use of processes that failed to
      properly monitor, evaluate and determine the continuing arrest without
      probable cause, wrongful detainment and improper use of force despite the
      history of the Consent Decree;

      e.    Routinely concealing, covering up, and hiding evidence of
      wrongdoing by law enforcement officers employed by the Defendant City of
      Detroit;

      f.     Setting customs, policies and practices for use of the Drag Racing
      Detail and other officers that violated the well-established Constitutional
      rights of individuals, including Plaintiffs, who were innocent bystanders;

60.   Each of the customs, policies, or practices was known to Defendant City of

Detroit as highly likely and probable to cause violations of the United States
 Case 2:23-cv-11170-FKB-CI ECF No. 1, PageID.13 Filed 05/17/23 Page 13 of 18




constitutional rights of Plaintiffs and other individuals, and each was a moving

force in the violations of the Plaintiffs’ United States constitutional rights, as set

forth herein.

61.   As a direct and proximate result of Defendant City of Detroit’s actions,

Plaintiffs suffered injury and damages including those set forth in paragraph 27.

                            COUNT V
         LIABILITY UNDER STATE LAW AGAINST INDIVIDUAL
                          DEFENDANTS



62.   Plaintiff hereby re-alleges and incorporates herein by reference all the prior

paragraphs, as though the same were fully set forth herein word for word.

63.   Individual Defendant officers were at all times relevant hereto performing

ministerial-operational duties which did not involve significant decision-making,

personal deliberation or judgment.

64.   The minor decision making involved in Individual Defendant officers’

actions at all times relevant hereto were merely incidental to the execution of said

Individual Defendant officers’ ministerial-operational duties.

65.   At all times relevant hereto, Plaintiff had the right under statutes, common

law, rules, regulations and/or ordinances of the State of Michigan, to be free from

the reckless, knowingly and/or intentionally tortious, willful, wanton, reckless
 Case 2:23-cv-11170-FKB-CI ECF No. 1, PageID.14 Filed 05/17/23 Page 14 of 18




and/or grossly negligent execution of ministerial-operational duties contrary to

Michigan law and United States Constitution, by Individual Defendant officers.

66.   At all times relevant hereto, Individual Defendant officers failed,

notwithstanding their standard duty of due care to execute their said ministerial-

operational duties in good faith, without negligence, recklessness, willfulness,

wantonness, gross negligence and/or knowingly and/or intentional tortuous

conduct, in a manner consistent with Michigan law, as follows, but not limited

hereto:

      a.     To act in good faith, while shooting at and detaining Plaintiff;

      b.     To act in good faith, while exerting excessive force upon Plaintiff;

      c.    To comply with all applicable statutes, laws, rules, regulations and/or
      ordinances, including but not limited to the Michigan laws.

67.   Notwithstanding these duties, Individual Defendant officers knowingly and

intentionally while acting under color of law, violated, breached and/or failed to

fulfill their ministerial duties to Plaintiff in a manner violative of Michigan law,

Federal law and the United States Constitution, by acting in bad faith and engaging

in ultra vires conduct.

68.   Notwithstanding these duties, Individual Defendant officers knowingly

failed to fulfill their ministerial duties while on duty and acting during their

employment and/or authority, under color of law and pursuant to customs, policies

and/or practices, wrongfully detained and shot at Plaintiff in bad faith.
 Case 2:23-cv-11170-FKB-CI ECF No. 1, PageID.15 Filed 05/17/23 Page 15 of 18




69.    Notwithstanding these duties Individual Defendant officers deliberately,

recklessly, willfully, wantonly, knowingly and/or intentionally violated, breached

and failed to fulfill their ministerial duties to Plaintiff, in bad faith, and in violation

of the Michigan laws, including, but not limited to, the following:

       a.     By wrongfully detaining, and shooting at Plaintiff.

       b.     By exerting excessive force on Plaintiff.

70.    As a direct and a proximate result of Individual Defendant officers’

aforesaid reckless, willful, wanton, and knowingly and intentionally tortious

violations of the aforesaid ministerial duties, in bad faith and violation of the

Michigan laws, Plaintiff was injured.

71.    As a direct and a proximate result of Individual Defendant officers’

aforesaid reckless, willful, wanton, and knowingly and intentionally tortious

violations of the aforesaid ministerial duties, all done in bad faith, Plaintiff suffered

and continue to suffer serious and permanent personal injuries, including physical

and mental pain, mental anguish, severe emotional distress, shock, fright,

humiliation, degradation, embarrassment, loss of enjoyment of life, medical

complications and a lesser leaning, liking and ability towards previous home,

family, social, recreational and personal activities, all past, present and future, and

any other damages listed in paragraph 27.
 Case 2:23-cv-11170-FKB-CI ECF No. 1, PageID.16 Filed 05/17/23 Page 16 of 18




      WHEREFORE, Plaintiff demands judgment against this Defendant in an

amount to be determined by a jury after a trial by jury, compensatory damages,

punitive damages, interest, costs, attorney fees and any/all other relief this Court

may deem appropriate, whether legal or equitable.

                            COUNT VII
                GROSS NEGLIGENCE UNDER STATE LAW

72.   Plaintiff hereby re-allege and incorporate herein by reference all the prior

paragraphs, as though the same were fully set forth herein word for word.

73.   Individual Defendant officers owed Plaintiff a duty of care, including but not

limited to a:

      a. Duty to provide protection for Plaintiff when he was in a helpless
         condition;

      b. Duty not to make Plaintiff’s condition worse after shooting at him;

      c. Duty to properly assure the safety of Plaintiff when he was in their care;

      d. Duty to exercise reasonable care to perform an undertaking, after they
         undertook to render services to Plaintiff which they should have
         recognized as necessary for the protection of Plaintiff’s person and failed
         and, their failure to exercise such care increased the risk of such harm.
         Rest.2nd Torts § 323, §324A; and,

      e. Duty not to improperly use deadly weapons against foreseeable victims.

74.   The actions of the Individual Defendant officers wantonly and recklessly, in

gross negligence, violated the duties to Plaintiff and disregarded Plaintiff’s rights.
 Case 2:23-cv-11170-FKB-CI ECF No. 1, PageID.17 Filed 05/17/23 Page 17 of 18




75.   The Individual Defendant officers’ actions in acting with gross negligence

and denying Plaintiff’s rights caused loss of rights and injury to the Plaintiff.

76.   The Individual Defendant officers’ actions were in wanton, reckless and

callous disregard to Plaintiff’s rights and to the injury to Plaintiff and were grossly

negligent.

77.   Under MCL 691.1407, citizens may maintain an action in tort against police

Defendants whose actions constitute gross negligence and state granted immunity

does not bar such a claim even when the officer is acting within the scope of his

authority.

78.   As a direct and proximate result of the Individual Defendant officers’

actions, Plaintiff suffered injury and damages including, but not limited to, those

set forth in paragraph 27.

      WHEREFORE, Plaintiff demands judgment against this Defendant in an

amount to be determined by a jury after a trial by jury, compensatory damages,

punitive damages, interest, costs, attorney fees and any/all other relief this Court

may deem appropriate, whether legal or equitable.

                                               Respectfully submitted,
Dated: May 16, 2023                            KHAMO LAW

                                               /s/ Brandon McNeal
                                               Brandon McNeal (P81300)
                                               Attorneys for Plaintiff
Case 2:23-cv-11170-FKB-CI ECF No. 1, PageID.18 Filed 05/17/23 Page 18 of 18




                            JURY DEMAND

    NOW COMES the Plaintiff and demands trial of his cause by jury.




    Dated: May 16, 2023

                                        Respectfully submitted,
                                        KHAMO LAW

                                        /s/ Brandon McNeal
                                        Brandon McNeal (P81300)
                                        Attorneys for Plaintiff
